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06/15/2017 05:13 PM CDT




                                                       - 606 -
                                  Nebraska Supreme Court A dvance Sheets
                                          296 Nebraska R eports
                                                   STATE v. ARTIS
                                                 Cite as 296 Neb. 606



                                        State of Nebraska, appellee, v.
                                          Tareik Q. A rtis, appellant.
                                                   ___ N.W.2d ___

                                          Filed May 5, 2017.     No. S-16-464.

                                             supplemental opinion

                 Appeal from the District Court for Lancaster County: Lori
               A. M aret, Judge. Supplemental opinion: Former opinion
               modified. Motion for rehearing overruled.
                     Robert Wm. Chapin, Jr., for appellant.
                 Douglas J. Peterson, Attorney General, Sarah E. Marfisi,
               and Nathan A. Liss for appellee.
                  Heavican, C.J., Wright, Miller-Lerman, Cassel, Stacy,
               K elch, and Funke, JJ.
                  Per Curiam.
                  Case No. S-16-464 is before this court on the appel-
               lee’s motion for rehearing concerning our opinion in State v.
               Artis.1 We overrule the motion, but we modify the original
               opinion as follows: In the section entitled “V. ANALYSIS,”
               under subheading “2. Plain Error,” subsection “(a) Artis’
               Sentence Is Indeterminate,” we withdraw the third and fourth
               sentences of the single paragraph of that subsection, which
               now reads:

                1	
                     State v. Artis, ante p. 172, ___ N.W.2d ___ (2017).
                                     - 607 -
                Nebraska Supreme Court A dvance Sheets
                        296 Nebraska R eports
                                 STATE v. ARTIS
                               Cite as 296 Neb. 606
                      (a) Artis’ Sentence
                       Is Indeterminate
     [9-12] The State has mischaracterized Artis’ sentence
  of “not less than 2 years, nor more than 2 years” as a
  determinate sentence. A determinate sentence is imposed
  when the defendant is sentenced to a single term of years,
  such as a sentence of 2 years’ imprisonment. See State v.
  White, 256 Neb. 536, 590 N.W.2d 863 (1999). In contrast,
  when imposing an indeterminate sentence, a sentencing
  court ordinarily articulates either a minimum term and
  maximum term or a range of time for which a defendant
  is to be incarcerated. Neb. Rev. Stat. § 28-105 (Reissue
  2016); State v. White, supra. In Nebraska, the fact that the
  minimum term and maximum term of a sentence are the
  same does not affect the sentence’s status as an indeter-
  minate sentence. See, State v. Marrs, 272 Neb. 573, 723
  N.W.2d 499 (2006); State v. Urbano, 256 Neb. 194, 589
  N.W.2d 144 (1999). Thus, we conclude that Artis’ sen-
  tence for his Class IV felony is an indeterminate sentence
  in which the minimum and maximum terms are the same.
  Such sentence complies with L.B. 1094’s requirement that
  the court impose an indeterminate sentence for a Class IV
  felony when that sentence is imposed consecutively with
  a Class IIA felony, and we therefore find no plain error in
  this regard.2
The remainder of the opinion shall remain unmodified.
	Former opinion modified.
	Motion for rehearing overruled.

 2	
      Id. at 179-80, ___ N.W.2d at ___.
